Case 1:10-cv-10133-WGY Document 242-2 Filed 03/19/10 Page 1 of 12




               APPENDIX C
                           Case 1:10-cv-10133-WGY Document 242-2 Filed 03/19/10 Page 2 of 12




                                             APPENDIX C to Cree’s Motion No. 2
                           ‘618 PATENT CLAIMS 1 AND 4 ANTICIPATED BY THE CROWDER ARTICLE
                             INCLUDING DR. SHEALY’S ADMISSIONS REGARDING ANTICIPATION1


    Claim Limitation2               Disclosure in the Crowder Article                   Dr. Shealy’s Testimony Establishing the
                                                [Exh. 15]                             Crowder Article Discloses Each Limitation
                                                                                                       [Exh.10]
1[A] A process for        The Crowder Article discloses a method for making         Q: Did they [Crowder] grow zinc telluride
non-equilibrium           Zinc Telluride (ZnTe), a wide band-gap semiconductor      crystals?
incorporation of a        having a band-gap of ~2.4 eV                              A: I believe so.
dopant into a crystal
of a wide band gap               “The maximum energy of rare-earth                  Q: Is zinc telluride         a    wide-band     gap
semiconductor                    fluorescence which can be observed is              semiconductor?
comprising the steps             limited by the band gap of the host                A: Yes.
of                               lattice.   For ZnTe at 5 K, this is
                                 2.39 eV.” (p. 568; p. 570, Table II).              Shealy Depo. Tr. (Sept. 24, 2009) at 315:5-10.
Court’s construction
                          The Crowder Article discloses that ZnTe was doped         In accordance with the Court’s construction of
wide band gap: “a         with a rare earth element, erbium (Er) and either         “non-equilibrium incorporation of a dopant,” Dr.
band gap of at least      lithium (Li) or phosphorus (P).                           Shealy testified that the concentration (solubility)
1.4 electron volts”                                                                 of erbium (Er) in the ZnTe increased as a result
                                 “In this paper we report on the                    of co-doping with both erbium and lithium. See
non-equilibrium                  luminescence and EPR studies of Er+3 in            Dr. Shealy’s testimony cited in Element 1[F]
incorporation of a               ZnTe. The influence of different charge-           below (concentration of Er increased from about
dopant:                          compensation mechanisms are examined               1016 to over 1017 per cubic centimeter).
“incorporation of a              in   ZnTe(Er),      ZnTe(Er,Li),      and
dopant in excess of its          ZnTe(Er,P) single crystals.” (p. 568)              Q: Can you explain why the co-doping of the zinc
1
  B.L. Crowder et al., EPR and Luminescence Studies of Er+3 in Acceptor-Doped ZnTe, Physical Review, Vol. 181, No. 2, May 1969
at pp. 567-573 (Radulescu Decl. Exh. 15).
2
    For the Court’s reference, Judge Connor’s claim constructions are set forth below each limitation in which they appear.
                          Case 1:10-cv-10133-WGY Document 242-2 Filed 03/19/10 Page 3 of 12




 Claim Limitation2                Disclosure in the Crowder Article                    Dr. Shealy’s Testimony Establishing the
                                              [Exh. 15]                              Crowder Article Discloses Each Limitation
                                                                                                        [Exh.10]
equilibrium solubility                                                            telluride with lithium increased the concentration
at a particular          The Crowder Article discloses that the introduction of   of the erbium in the zinc telluride?
temperature and          Er and Li resulted in hole concentrations as high as     [objection]
concentration of         1x1017 cm-3:                                             A: Well, one explanation would be the
compensating                                                                      compensating effect, you know, increasing the
species”                       “ZnTe(Er, Li) as grown exhibited room-             solubility.
                               temperature hole concentrations of about
dopant: “an impurity           1x1017 cm-3.” (p. 570)                             Shealy Depo. Tr. (Sept. 24, 2009) at 329:3-11.
added to a
semiconductor            This hole concentration is within the range of "non-
material to alter its    equilibrium" dopant concentrations taught in the '618
electronic properties”   patent. (Compare '618 patent at 3:38-43 [“in the range
                         between 1017 and 1018 per cc3”]).

                         The Crowder Article discloses the non-equilibrium
                         incorporation of a dopant (Er) by co-doping ZnTe with
                         Er and either Li or P:

                               “Upon zinc firing and rapid quenching,
                               the behavior of ZnTe(Er) is quite similar
                               to that of undoped ZnTe, with net
                               acceptor concentrations of the order of 3
                               to 5x1016 cm-3 being observed. The
                               amount of Er+3 soluble in ZnTe(Er)
                               crystals is therefore most likely between
                               1015 and 1016 cm-3. From the strength of
                               the EPR signal, the concentration of Er+3
                               in ZnTe(Er,Li) and in ZnTe(Er,P)
                               samples is of the order of 1017 cm-
                               3
                                 .”(p.573, left col.)


                                                                   2
                         Case 1:10-cv-10133-WGY Document 242-2 Filed 03/19/10 Page 4 of 12




 Claim Limitation2                Disclosure in the Crowder Article                  Dr. Shealy’s Testimony Establishing the
                                              [Exh. 15]                             Crowder Article Discloses Each Limitation
                                                                                                    [Exh.10]

                        This result is consistent with the '618 patent’s
                        statement that co-doping with compensating species
                        inherently results in non-equilibrium incorporation.
                        ('618 patent at 2:1-5).
1[B] treating the       The Crowder Article discloses that the ZnTe layer was Q: Does Crowder disclose introducing erbium
crystal in the          grown in the presence of Er (the “less mobile” dopant) atoms into zinc telluride during growth?
presence of first and   and Li (a “more mobile” dopant):                       A: Yes.
second compensating                                                            Q: Does Crowder disclose introducing lithium
dopants of different          “In this paper we report on the                  atoms into zinc telluride during growth?
mobilities                    luminescence and EPR studies of Er+3 in          A: I don't think he's describing it as lithium alone.
                              ZnTe. The influence of different charge-         But in the experimental section he's introducing
Court’s construction          compensation mechanisms are examined             erbium and lithium together in there.
treating the crystal:         in     ZnTe(Er),    ZnTe(Er,Li),      and
“subjecting the               ZnTe(Er,P) single crystals.” (p. 568, left       Shealy Depo. Tr. (Sept. 24, 2009) at 316:7-17.
crystal to a process          col.).
which may occur                                                                Q: Is erbium less mobile than lithium in zinc
during its growth”            “The single crystals of ZnTe used in             telluride?
                              these studies were grown by Kucza.               A: Based on size considerations, you would
compensating dopant:          They were grown from a melt containing           assume it is.
“a dopant which               an excess of 25 mole% Te, 0.1 mole% of
provides an acceptor          the desired rare-earth metal, and 0.1            Shealy Depo. Tr. (Sept. 24, 2009) at 326:13-16.
in n-type material or a       mole% of either Li or P, or with no
donor in p-type               intentionally added co-dopant.” (p. 569,         Q: And do you believe, or do you understand that
material”                     left col).                                       the paper describes erbium as having donor
                                                                               activity?
                        The Crowder Article discloses that Er acts as a donor  A: It seems to describe erbium as a multivalent
                        dopant:                                                donor species, yes.
                                                                               Q: And it also describes lithium as a
                              “The electrical properties of ZnTe(Er) as        compensating acceptor?


                                                                   3
                        Case 1:10-cv-10133-WGY Document 242-2 Filed 03/19/10 Page 5 of 12




 Claim Limitation2               Disclosure in the Crowder Article                       Dr. Shealy’s Testimony Establishing the
                                             [Exh. 15]                                 Crowder Article Discloses Each Limitation
                                                                                                            [Exh.10]
                              grown indicate that Er is indeed acting as            A: Yes, there's also speculation, certainly in zinc
                              a donor species, since these samples are              telluride that interstitial lithium can also act as a
                              semi-insulating.” (p.573, left col.)                  donor.
                                                                                    []
                       Furthermore, the ‘618 patent claims that in n-type           Q: But you agree that the paper describes these
                       ZnTe, Li is more mobile than Cl. ‘618 Patent at 4:26-        two dopants as compensating dopants?
                       29 (“because of its larger ionic size, chlorine will be      A: Yes, I do.
                       less mobile than will the lithium). Thus, according to       Q: And that's supplemented by at least the third
                       the ‘618 patent, because of its larger ionic size, Er will   sentence of section 1 entitled "Introduction"?
                       be less mobile than Li. Moreover, one of skill in the        A: (Document review.) Yes, it just describes that
                       art at the time the application was filed would              the situation is even more complex. Because the
                       understand that Li is more mobile than Er.                   erbium has two -- it says the rare-earth ion has
                                                                                    been found on two sites, substitutional cation and
                                                                                    an interstitial site.
                                                                                    Q: And on at least one of those sites, we know
                                                                                    that lithium is a compensating dopant to erbium.
                                                                                    Is that correct?
                                                                                    A: That's what the paper suggests, yes.

                                                                              Shealy Depo. Tr. (Sept. 24, 2009) at 317:24-
                                                                              319:10.
1[C] for introducing    Crowder discloses growth of ZnTe crystals from a melt Q: Right. And you agree that he's describing
substantially equal     containing substantially equal amounts (namely, the   the introduction of .1 molar percent of erbium
amounts of the two      same amounts) of co-dopants Er and Li or co-dopants   together with .1 molar percent of either lithium or
dopants into at least a Er and P – specifically, 0.1 mole% of each dopant.    phosphorus as described in the second sentence of
portion of the crystal                                                        the section number 3 labeled, "Experimental" on
                              “The single crystals of ZnTe used in            page 569?
Court’s construction          these studies were grown by Kucza.              A: He describes equal molar concentrations of
substantially equal           They were grown from a melt containing          the rare earth metal, erbium in this case, and the
amounts:                      an excess of 25 mole% Te, 0.1 mole%             lithium or phosphorus, depending on which soup


                                                                    4
                          Case 1:10-cv-10133-WGY Document 242-2 Filed 03/19/10 Page 6 of 12




 Claim Limitation2                Disclosure in the Crowder Article                   Dr. Shealy’s Testimony Establishing the
                                              [Exh. 15]                             Crowder Article Discloses Each Limitation
                                                                                                     [Exh.10]
approximately equal            of the desired rare-earth metal, and 0.1           he's making.
molar quantities               mole% of either Li or P, or with no
                               intentionally added co-dopant.” (p. 569,           Shealy Depo. Tr. (Sept. 24, 2009) 316:18-317:5
dopant: “an impurity           left col.).
added to a                                                                        Q: Do you agree that in bulk crystal growth,
semiconductor            The '618 patent alleges that "[a]s long as the amounts   when you introduce equal amounts by molar
material to alter its    of each [dopant] in the melt are approximately equal,    quantities of dopants into the melt, you get out
electronic properties”   because of strong compensating effects in such wide      quality [sic, equal] amounts by molar quantities in
                         band gap crystals, substantially equal amounts of the    the as-grown crystal?
                         two dopants will be introduced into the crystal." '618   A: Certainly not when you're polling crystals, but
                         patent, col. 3, lines 43-47.                             this is not that kind of experiment. So if the entire
                                                                                  melt is consumed and solidifies and there's no
                                                                                  segregation of the impurities on the surface of the
                                                                                  crystal, but even if there is, if you want to average
                                                                                  that then, you know, the number of those
                                                                                  quantities going into the ampules is equal to what
                                                                                  is coming out.
                                                                                  Q: Do you agree that Crowder teaches
                                                                                  introduction of equal molar amounts into the
                                                                                  crystal of erbium and lithium?
                                                                                  A: Taken on average, yes.

                                                                                  Shealy Depo. Tr. (Sept. 24, 2009) at 321:7-322:2.

1[D] such that the       The Crowder Article discloses that co-doping with Li     Q: Okay. Do you agree that by introducing equal
concentration of the     (the more mobile dopant) and Er (the less mobile         amounts of erbium and lithium into the zinc
less mobile of the two   dopant) improves the solubility of Er in the ZnTe        telluride by molar quantity, that the erbium
dopants in said          crystal.                                                 concentration increased as a result of being co-
portion of the crystal                                                            doped with lithium?
is in excess of the            “Er+3 can be incorporated in the ZnTe              A: That's what it says.


                                                                    5
                        Case 1:10-cv-10133-WGY Document 242-2 Filed 03/19/10 Page 7 of 12




 Claim Limitation2               Disclosure in the Crowder Article                  Dr. Shealy’s Testimony Establishing the
                                             [Exh. 15]                             Crowder Article Discloses Each Limitation
                                                                                                   [Exh.10]
solubility therein of         lattice in significant concentrations by
the less mobile               co-doping with an acceptor species.”               Q: And do you agree that the erbium
dopant in the absence         (Abstract)                                         concentration without being co-doped with
of the more mobile of                                                            lithium was on the order of 10 to the 15th to 10 to
the two dopants,              “The absence of detectable resonances              the 16th per cubic centimeter?
                              due to Er+3 in ZnTe(Er) samples implies            A: Yes, I guess that's their description. They're
Court’s construction          that the Er+3 concentration which is               substantially equal.
in excess of the              soluble in the ZnTe lattice is
solubility: “the              considerably lower than that present in            Shealy Depo. Tr. (Sept. 24, 2009) at 323:11-23;
concentration of the          either ZnTe(Er,P), or ZnTe(Er,Li).”                see Shealy Depo. Tr. (Sept. 24, 2009) at 330:17-
less mobile dopant is         (p.573, left col.).                                24 (testifying that the solubility of erbium in ZnSe
greater than its                                                                 without co-doping of lithium is “10 to the 15, on
concentration in the   The Crowder Article further discloses that the            the order of.”)
absence of the more    concentration of Er in ZnTe co-doped with Er and Li is
mobile dopant”         at least ten times higher (i.e., an order of magnitude)   Q: Do you agree then by co-doping the zinc
                       than in ZnTe doped with Er alone:                         telluride with both erbium and lithium resulted in
dopant: “an impurity                                                             an increase in the concentration from about 10 to
added to a                    “Upon zinc firing and rapid quenching,             the 16th per cubic centimeter to over 10 to the
semiconductor                 the behavior of ZnTe(Er) is quite similar          17th per cubic centimeter?
material to alter its         to that of undoped ZnTe, with net                  A: (Document review.) I believe, based on this
electronic properties”        acceptor concentrations of the order of 3          discussion, that the concentration of the erbium
                              to 5x1016 cm-3 being observed. The                 went up. The technique they're using to measure
                              amount of Er+3 soluble in ZnTe(Er)                 it is EPR. You know, I, I know that's sensitive to
                              crystals is therefore most likely between          the -- I don't think it's as quantitative as what
                              1015 and 1016 cm-3. From the strength of           we're normally, the techniques we normally use to
                              the EPR signal, the concentration of Er+3          measure impurities
                              in ZnTe(Er,Li) and in ZnTe(Er,P)                   Q: Right. But can you give us an approximate
                              samples is of the order of 1017 cm-3.”             range on how much the erbium concentration
                              (p.573, left col.).                                increased as a result of the co-doping with
                                                                                 lithium?


                                                                  6
                         Case 1:10-cv-10133-WGY Document 242-2 Filed 03/19/10 Page 8 of 12




 Claim Limitation2               Disclosure in the Crowder Article                    Dr. Shealy’s Testimony Establishing the
                                             [Exh. 15]                              Crowder Article Discloses Each Limitation
                                                                                                      [Exh.10]
                                                                                  A: Based on the face value of this, at least a factor
                                                                                  of 10.

                                                                                  Shealy Depo. Tr. (Sept. 24, 2009) at 324:6:-325:4.

                                                                                  Q: Can you explain why the co-doping of the zinc
                                                                                  telluride with lithium increased the concentration
                                                                                  of the erbium in the zinc telluride?
                                                                                  [Objection]
                                                                                  A: Well, one explanation would be the
                                                                                  compensating effect, you know, increasing the
                                                                                  solubility.

                                                                                  Shealy Depo. Tr. (Sept. 24, 2009) at 329:3-11.
1[E] and then heating   The Crowder Article discloses that, after growth of the   Q: Does the reference disclose that the zinc
the crystal to remove   co-doped ZnTe crystal, the crystal was subjected to       telluride erbium lithium was subjected to a heat
therefrom               heat treatments to preferentially remove Li (the more     treatment to remove lithium?
preferentially the      mobile dopant) from the crystal:                          A: It says it was subjected to a heat treatment
more mobile of the                                                                which is known to remove lithium, based on a
two dopants                   “Thermal treatments which are known                 reference 11.
                              to remove Li from electrically active
Court’s construction          centers in ZnTe greatly increase the                Shealy Depo. Tr. (Sept. 24, 2009) at 328:3-9.
remove: “taking away          strength of the cubic spectrum and
from the crystal an           greatly reduce the strength of the trigonal         Q: Right. Do you agree that the second sentence
effective portion”            spectrum.” (Abstract).                              of the abstract discloses that the zinc telluride was
                                                                                  subjected to a thermal treatment which is known
dopant: “an impurity          “Subsequent heat treatments of                      to remove lithium from electrically active centers
added to a                    portions of these single crystals were              in zinc telluride?
semiconductor                 conducted in sealed, evacuated (to about            A: I agree that's what it says.
material to alter its         10-6 Torr) quartz ampoules. If a known


                                                                   7
                         Case 1:10-cv-10133-WGY Document 242-2 Filed 03/19/10 Page 9 of 12




 Claim Limitation2                Disclosure in the Crowder Article                 Dr. Shealy’s Testimony Establishing the
                                              [Exh. 15]                            Crowder Article Discloses Each Limitation
                                                                                                     [Exh.10]
electronic properties”         Zn overpressure was desired, a chip of            Shealy Depo. Tr. (Sept. 24, 2009) at 328:17-24.
                               high purity Zn was placed in the sample
                               ampoule in a quartz plug. If liquid
                               extraction was desired, the sample was
                               held under liquid Zn by a quartz finger.
                               Samples which were heat-treated were
                               quenched by immersing the ampoule in a
                               water bath in order to freeze in that
                               atomic disorder more characteristic of
                               the elevated firing temperature. In the
                               following discussion of experimental
                               results, crystals which were fired in Zn
                               vapor at 850°C for 2 to 4 h will be
                               referred to as “zinc fired,” crystals given
                               similar treatment in a bath of liquid Zn
                               will be referred to as “zinc extracted,”
                               and crystals which were annealed in
                               vacuum at 250°C for several days will be
                               referred        to       as       “vacuum
                               annealed.”(p. 569, col. 1; also p. 570,
                               col. 1)

                         Moreover, the conditions for removing Li from doped
                         ZnTe crystals (by heating the crystal at 850 C in Zn
                         vapor) are within the range disclosed in the '618 patent.
                         '618 patent, 3:51-62 (disclosing that "the lithium is
                         preferentially removed from the epitaxial layer" by, for
                         example, heating the crystal "in the range of between
                         600 C-1000 C in zinc vapor").
1[F] whereby there is    The Crowder Article discloses that, after heating the     Q: Okay. Do you agree that by introducing equal


                                                                    8
                         Case 1:10-cv-10133-WGY Document 242-2 Filed 03/19/10 Page 10 of 12




 Claim Limitation2                Disclosure in the Crowder Article                   Dr. Shealy’s Testimony Establishing the
                                              [Exh. 15]                             Crowder Article Discloses Each Limitation
                                                                                                       [Exh.10]
left a non-equilibrium   ZnTe crystal to remove Li (the more mobile dopant),     amounts of erbium and lithium into the zinc
concentration of the     the crystal has a non-equilibrium concentration of Er   telluride by molar quantity, that the erbium
less mobile dopant in    (the less mobile dopant).                               concentration increased as a result of being co-
said portion of the                                                              doped with lithium?
crystal.                       “Upon zinc firing and rapid quenching,             A: That's what it says.
                               the behavior of ZnTe(Er) is quite similar         Q: And do you agree that the erbium
                               to that of undoped ZnTe, with net                 concentration without being co-doped with
                               acceptor concentrations of the order of 3         lithium was on the order of 10 to the 15th to 10 to
                               to 5x1016 cm-3 being observed. The                the 16th per cubic centimeter?
                               amount of Er+3 soluble in ZnTe(Er)                A: Yes, I guess that's their description. They're
                               crystals is therefore most likely between         substantially equal.
                               1015 and 1016 cm-3. From the strength of
                               the EPR signal, the concentration of Er+3         Shealy Depo. Tr. (Sept. 24, 2009) at 323:11-23.
                               in ZnTe(Er,Li) and in ZnTe(Er,P)
                               samples is of the order of 1017 cm-3.”            Q: Do you agree then by co-doping the zinc
                               (p.573, left col.).                               telluride with both erbium and lithium resulted in
                                                                                 an increase in the concentration from about 10 to
                                                                                 the 16th per cubic centimeter to over 10 to the
                                                                                 17th per cubic centimeter?
                                                                                 [Objection]
                                                                                 A: (Document review) I believe, based on this
                                                                                 discussion, that the concentration of the erbium
                                                                                 went up. The technique they're using to measure
                                                                                 it is EPR. You know, I, I know that's sensitive to
                                                                                 the -- I don't think it's as quantitative as what
                                                                                 we're normally, the techniques we normally use to
                                                                                 measure impurities.
                                                                                 Q: Right. But can you give us an approximate
                                                                                 range on how much the erbium concentration
                                                                                 increased as a result of the co-doping with


                                                                    9
                         Case 1:10-cv-10133-WGY Document 242-2 Filed 03/19/10 Page 11 of 12




 Claim Limitation2                 Disclosure in the Crowder Article                     Dr. Shealy’s Testimony Establishing the
                                               [Exh. 15]                               Crowder Article Discloses Each Limitation
                                                                                                        [Exh.10]
                                                                                    lithium?
                                                                                    A: Based on the face value of this, at least a factor
                                                                                    of 10.

                                                                                    Shealy Depo. Tr. (Sept. 24, 2009) at 324:6-325:4.

                                                                                    Q: Can you explain why the co-doping of the zinc
                                                                                    telluride with lithium increased the concentration
                                                                                    of the erbium in the zinc telluride?
                                                                                    [objection]
                                                                                    A: Well, one explanation would be the
                                                                                    compensating effect, you know, increasing the
                                                                                    solubility.

                                                                                    Shealy Depo. Tr. (Sept. 24, 2009) at 329:3-11.

4. The process of        The Crowder Article discloses a method in which the        Q: Is erbium less mobile than lithium in zinc
claim 1 in which the     more mobile dopant (Li) can move via interstitial sites    telluride?
more mobile dopant       and the less mobile dopant (Er) is at a substantial site   A: Based on size considerations, you would
can move via             in the crystal.                                            assume it is.
interstitial sites and
the less mobile          The Crowder Article discloses that Er can reside at a      Shealy Depo. Tr. (Sept. 24, 2009) at 326:13-16.
dopant is at a           substitutional site.
substitutional site in
the crystal.                   “To summarize the EPR results, the                   Q: But you agree that the paper describes these
                               predominant sites at which Er+3 is found             two dopants as compensating dopants?
                               in ZnTe are as follows: site I (observed             A: Yes, I do.
                               in ZnTe doped with either Li or P), an               Q: And that's supplemented by at least the third
                               isolated Er+3 on a substitutional Zn                 sentence of section 1 entitled "Introduction"?
                               site; site II (observed in P-doped ZnTe),            A: (Document review.) Yes, it just describes that


                                                                     10
                    Case 1:10-cv-10133-WGY Document 242-2 Filed 03/19/10 Page 12 of 12




Claim Limitation2            Disclosure in the Crowder Article               Dr. Shealy’s Testimony Establishing the
                                         [Exh. 15]                          Crowder Article Discloses Each Limitation
                                                                                               [Exh.10]
                          a substituional Er+3 with a P atom on one      the situation is even more complex. Because the
                          of the four nearest-neighbor Te sites; and     erbium has two, it says the rare earth ion has been
                          site III (observed in Li-doped ZnTe), an       found on two sites, substitutional cation and an
                          Er+3 in an interstitial site surrounded by     interstitial site.
                          six next-nearest-neighbor Te, three
                          nearest-neighbor Zn, and one nearest-          Shealy Depo. Tr. (Sept. 24, 2009) at 318:17-
                          neighbor Li on a Zn site.” (p. 572, right      319:5.
                          col.)

                    The Crowder Article discloses that Li moves via an
                    interstitial site:

                          “Thermal treatments which are known to
                          remove Li from electrically active
                          centers in ZnTe greatly increase the
                          strength of the cubic spectrum and
                          greatly reduce the strength of the trigonal
                          spectrum.” (Abstract).

                          “[T]he sample of ZnTe(Er, Li) was
                          subjected to treatments which are known
                          to remove Li from electrically active
                          sites in ZnTe….” (p. 570, left col.)




                                                               11
